            IN THE UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


DEMOCRACY NORTH CAROLINA,
THE LEAGUE OF WOMEN VOTERS OF
NORTH CAROLINA, DONNA PERMAR,
JOHN P. CLARK, MARGARET B.
CATES, LELIA BENTLEY, REGINA
WHITNEY EDWARDS, ROBERT K.
PRIDDY II, WALTER HUTCHINS, AND
SUSAN SCHAFFER,                             Civil Action No. 20-cv-457

           Plaintiffs,

           vs.                              NOTICE OF APPEAL

THE NORTH CAROLINA STATE
BOARD OF ELECTIONS; DAMON
CIRCOSTA, in his official capacity as
CHAIR OF THE STATE BOARD OF
ELECTIONS; STELLA ANDERSON, in
her official capacity as SECRETARY OF
THE STATE BOARD OF ELECTIONS;
KEN RAYMOND, in his official capacity
as MEMBER OF THE STATE BOARD OF
ELECTIONS; JEFF CARMON III, in his
official capacity as MEMBER OF THE
STATE BOARD OF ELECTIONS; DAVID
C. BLACK, in his official capacity as
MEMBER OF THE STATE BOARD OF
ELECTIONS; KAREN BRINSON BELL,
in her official capacity as EXECUTIVE
DIRECTOR OF THE STATE BOARD OF
ELECTIONS; THE NORTH CAROLINA
DEPARTMENT OF TRANSPORTATION;
J. ERIC BOYETTE, in his official capacity
as TRANSPORTATION SECRETARY;
THE NORTH CAROLINA
DEPARTMENT OF HEALTH AND


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 HUMAN SERVICES; MANDY COHEN,
 in her official capacity as SECRETARY OF
 HEALTH AND HUMAN SERVICES,

             Defendants,

 and

 PHILIP E. BERGER, in his official capacity
 as President Pro Tempore of the North
 Carolina Senate, and TIMOTHY K.
 MOORE, in his official capacity as Speaker
 of the North Carolina House of
 Representatives,

                           Intervenors.


       Notice is hereby given that Proposed Intervenors Republican National

Committee (“RNC”), National Republican Senatorial Committee (“NRSC”),

National Republican Congressional Committee (“NRCC”), and North Carolina

Republican Party (“NCRP”) (collectively the “Republican Committees”) in the

above captioned case hereby appeal to the United States Court of Appeals for the

Fourth Circuit from the Orders denying the Republican Committees’ motion to

intervene and motion for reconsideration, entered in this action on June 24, 2020 and

June 30, 2020, respectively (ECF Nos. 48, 59).

       Dated: July 2, 2020

                                   Respectfully submitted,

                                   /s/ Bobby R. Burchfield
                                   Bobby R. Burchfield

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                         Counsel for the Republican Committees




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this date, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system which automatically sends e-mail

notification of such filing to any attorneys of record.

      This 2nd day of July, 2020.




                                        /s/ Bobby Burchfield
                                        Bobby Burchfield




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